AO 442 (Rev. 01/09) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                  Middle District of North Carolina

                  United States of America                        )
                             v.                                   )
                                                                  )        Case No.        1:13CR435-1
                BRIAN DAVID HILL,                                 )
                            Defendant                             )


                                                       ARREST WARRANT


To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)                        BRIAN DAVID HILL                                                                  ,
who is accused of an offense or violation based on the following document filed with the court:

X Indictment                  Superseding Indictment         Information         Superseding Information                Complaint
’ Probation Violation Petition               Supervised Release Violation Petition         Violation Notice             Order of the Court

This offense is briefly described as follows:

Possess child pornography of a prepubescent minor under 12 years of age in violation of 18:2252A(a)(5)(B) and
(b)(2).

***The U.S. Attorney requests a detention hearing. In the event the defendant is release, the U.S. Attorney
recommends that the Adam Walsh Sex Offender Specific Conditions be a part of the release conditions****

                                                                                        John S. Brubaker, Clerk
Date:        Nov 26, 2013
                                                                                         Issuing officer’s signature

City and state:      Greensboro, North Carolina                                       /s/ Joy Daniel, Deputy Clerk
                                                                                           Printed name and title


                                                                 Return

           This warrant was received on (date)                        , and the person was arrested on (date)
at (city and state)                                          .

Date:
                                                                                        Arresting officer’s signature



                                                                                           Printed name and title



                          Case 1:13-cr-00435-TDS Document 2 Filed 11/26/13 Page 1 of 2
AO 442 (Rev. 01/09) Arrest Warrant

AO 442 (Rev. 01/09) Arrest Warrant (Page 2)




                      This second page contains personal identifiers provided for law-enforcement use only
                      and therefore should not be filed in court with the executed warrant unless under seal.

                                                      (Not for Public Disclosure)

Name of defendant/offender:
Known aliases:
Last known residence:
Prior addresses to which defendant/offender may still have ties:


Last known employment:
Last known telephone numbers:
Place of birth:
Date of birth:
Social Security number:
Height:                                                                Weight:
Sex:                                                                   Race:
Hair:                                                                  Eyes:
Scars, tattoos, other distinguishing marks:


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History of violence, weapons, drug use:


Known family, friends, and other associates (name, relation, address, phone number):


FBI number:
Complete description of auto:


Investigative agency and address:


Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable):



Date of last contact with pretrial services or probation officer (if applicable):




                           Case 1:13-cr-00435-TDS Document 2 Filed 11/26/13 Page 2 of 2
